Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 1 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 2 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 3 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 4 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 5 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 6 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 7 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 8 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 9 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 10 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 11 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 12 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 13 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 14 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 15 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 16 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 17 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 18 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 19 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 20 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 21 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 22 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 23 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 24 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 25 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 26 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 27 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 28 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 29 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 30 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 31 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 32 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 33 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 34 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 35 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 36 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 37 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 38 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 39 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 40 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 41 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 42 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 43 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 44 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 45 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 46 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 47 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 48 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 49 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 50 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 51 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 52 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 53 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 54 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 55 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 56 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 57 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 58 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 59 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 60 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 61 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 62 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 63 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 64 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 65 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 66 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 67 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 68 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 69 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 70 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 71 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 72 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 73 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 74 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 75 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 76 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 77 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 78 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 79 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 80 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 81 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 82 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 83 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 84 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 85 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 86 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 87 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 88 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 89 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 90 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 91 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 92 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 93 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 94 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 95 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 96 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 97 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 98 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 99 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 100 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 101 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 102 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 103 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 104 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 105 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 106 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 107 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 108 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 109 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 110 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 111 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 112 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 113 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 114 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 115 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 116 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 117 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 118 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 119 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 120 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 121 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 122 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 123 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 124 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 125 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 126 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 127 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 128 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 129 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 130 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 131 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 132 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 133 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 134 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 135 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 136 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 137 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 138 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 139 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 140 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 141 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 142 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 143 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 144 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 145 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 146 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 147 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 148 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 149 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 150 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 151 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 152 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 153 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 154 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 155 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 156 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 157 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 158 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 159 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 160 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 161 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 162 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 163 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 164 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 165 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 166 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 167 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 168 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 169 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 170 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 171 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 172 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 173 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 174 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 175 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 176 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 177 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 178 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 179 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 180 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 181 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 182 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 183 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 184 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 185 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 186 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 187 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 188 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 189 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 190 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 191 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 192 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 193 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 194 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 195 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 196 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 197 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 198 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 199 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 200 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 201 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 202 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 203 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 204 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 205 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 206 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 207 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 208 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 209 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 210 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 211 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 212 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 213 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 214 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 215 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 216 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 217 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 218 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 219 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 220 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 221 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 222 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 223 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 224 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 225 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 226 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 227 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 228 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 229 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 230 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 231 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 232 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 233 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 234 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 235 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 236 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 237 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 238 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 239 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 240 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 241 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 242 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 243 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 244 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 245 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 246 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 247 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 248 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 249 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 250 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 251 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 252 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 253 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 254 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 255 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 256 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 257 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 258 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 259 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 260 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 261 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 262 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 263 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 264 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 265 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 266 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 267 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 268 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 269 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 270 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 271 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 272 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 273 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 274 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 275 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 276 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 277 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 278 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 279 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 280 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 281 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 282 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 283 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 284 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 285 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 286 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 287 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 288 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 289 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 290 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 291 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 292 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 293 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 294 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 295 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 296 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 297 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 298 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 299 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 300 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 301 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 302 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 303 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 304 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 305 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 306 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 307 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 308 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 309 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 310 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 311 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 312 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 313 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 314 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 315 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 316 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 317 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 318 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 319 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 320 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 321 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 322 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 323 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 324 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 325 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 326 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 327 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 328 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 329 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 330 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 331 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 332 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 333 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 334 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 335 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 336 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 337 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 338 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 339 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 340 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 341 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 342 of 346
Case 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 343 of 346
se 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 344 of 3
se 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 345 of 3
se 3:20-cv-00092-BAJ-EWD   Document 1-1   02/17/20 Page 346 of 3
